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UN|TED STATES OF AMER|CA 1. 153 tJi= l`il, i.m ¢…{HIS
Plaintiff

VS.
CR. NO. 04~20281-D

DANNY W|NBERRY

Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Apri| 19, 2005. At that time, counsel for the
defendant requested a continuance of the May 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Ju|y 5, 2005 with a mg
date of Thursdav. June 30. 2005. at 9:00 a.m., in Courtroom 3, 9th |'-`ioor ofthe Federa|
Bui|ding, N|emphis, TN.

The period from |Vlay13, 2005 through Ju|y 15, 2005 is excludable under 18 U.S.C.
§ 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time to
prepare outweigh the need for a speedy tria|.

lT |S SO ORDERED this(j§ § day Of April, 2005.

 

This document entered on the docket she lin complies ce
twin n. lie 55 and/m 32(1)) rsch on `2-27" Q-.S

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This notice confirms a copy of the document docketed as number 61 in
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Honorable Bernice Donald
US DISTRICT COURT

